Case 1:10-cr-00433-KAM           Document 239    Filed 05/14/25        Page 1 of 4 PageID #: 1663


                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
 TH/RAB                                             271 Cadman Plaza East
 F. #2025R00212                                     Brooklyn, New York 11201



                                                    May 14, 2025

 The Honorable Kiyo A. Matsumoto
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

                Re:      United States v. Jonathan Braun
                         Criminal Docket No. 10-433 (KAM)

 Dear Judge Matsumoto:

                The government respectfully submits this letter in response the defendant
 Jonathan Braun’s letter, filed today, in which he (1) seeks dismissal of the charges contained
 in the Addendum to the VOSR Report dated May 1, 2025 (the “VOSR Addendum”); and (2)
 requests that the Court disallow hearsay evidence as to Charges 1, 2, and 3 of the Violation
 of Supervised Release Report dated April 1, 2025 (the “VOSR Report”).

                For the reasons set forth below, the Court should reject the defendant’s motion
 to dismiss Charge 8. With respect to Charge 10, the VOSR charge related to unauthorized
 travel, the government provided the correspondence appended to the defendant’s motion to
 the United States Probation Department and understands that the Probation Department will
 seek to dismiss Charge 10 tomorrow, an application that the government will join. Lastly,
 for the reasons set forth below, if the government is unable to secure the testimony of
 Victim-1 despite efforts to secure his attendance at the hearing, the Court should admit the
 out-of-court statements by Victim-1.

    I.     Motion to Dismiss Charges in the VOSR Addendum

           A.         Charge 8

                 The defendant’s request that Charge 8 of the VOSR Addendum be dismissed
 for failure to provide notice misapprehends the law. The law is clear that after the
 defendant’s arraignment on the new charges in the VOSR Addendum, the government may
 seek to prove the charge by a preponderance of the available evidence, including through
 Danelle’s prior testimony. As this Court has observed, it is “well-settled that revocation
Case 1:10-cr-00433-KAM        Document 239       Filed 05/14/25      Page 2 of 4 PageID #: 1664




 hearings are not the same as criminal trials and judicial officers have considerable discretion
 at such hearings in determining the testimony to admit and the manner in which it may be
 given.” United States v. Joseph, No. 18-CR-02 (KAM), 2020 WL 565378, at *3 (E.D.N.Y.
 Feb. 4, 2020) (quoting United States v. Santos-Ferrer, 111 F. App’x 51, 52 (2d Cir. 2004)).
 In a similar context, it is common for courts in this District to consider and rely on testimony
 or evidence adduced at a co-defendant’s trial to find that the government has proved certain
 facts by a preponderance of the evidence at a Fatico hearing, even where counsel for the
 defendant had no opportunity to confront of cross-examine the trial witness. The Second
 Circuit has agreed that so doing does not constitute a due process violation. See, e.g., United
 States v. Carmona, 873 F.2d 569, 574 (2d Cir. 1989) (holding that the district court properly
 relied on witness’s trial testimony at sentencing for defendant who had not been part of that
 trial and explaining that it is “not a denial of due process for the trial judge, when
 determining sentence, to rely on evidence given by witnesses whom the defendant could
 neither confront nor cross-examine.”).

                Here, however, counsel for the defendant had an opportunity to cross-examine
 Danelle, and did so extensively. Hearing Transcript (“Tr.”) 174-85. The defendant now
 claims that, in light of Charge 8, counsel would have “cross-examined the [victim] in a vastly
 different manner” regarding the defendant placing the victim’s hand on his genitals, Def. Ltr.
 at 2, and argues that counsel would have confronted the witness on a purported inconsistency
 with her statements to law enforcement. But counsel did cross-examine Danelle on precisely
 that point. See Tr. 178 (“Q: Okay. When you spoke to the police, [you] never mentioned that
 Mr. Braun took your hand and put it on his genitals; is that right?” A: “No on the day, no.”).
 Since the defendant already had an opportunity to cross-examine Danelle, including on her
 previously-provided statements to law enforcement and the defendant has failed to identify
 any line of questioning he was unable to pursue, there is no basis to suggest that he is
 prejudiced by the Court’s reliance on Danelle’s prior testimony in establishing the factual
 basis for Charge 8. Even if the Court were to conclude that additional cross-examination on
 that specific point were warranted, Danelle could be recalled in order to permit counsel to
 conduct limited additional cross-examination on that point. The government respectfully
 submits, however, that in light of Danelle’s extensive cross-examination, such additional
 cross-examination is not necessary for the Court to assess her reliability.

            B.     Charges 9 and 10

                The government expects that, in light of the correspondence between the
 defendant’s mother and the Probation Officer previously responsible for the defendant’s
 supervision, the Probation Department will seek to dismiss Charge 10 from the VOSR
 Addendum. The government will join that application.

                The government nevertheless intends to admit Government Exhibit 25,
 certified records from Foxwoods El San Juan Casino, as relevant to Charge 9. These records
 demonstrate that the defendant gambled with tens of thousands of dollars although his court-
 ordered financial obligations have not been fulfilled.

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Case 1:10-cr-00433-KAM       Document 239       Filed 05/14/25     Page 3 of 4 PageID #: 1665




                 In a footnote, the defendant’s letter makes reference to restitution payments
 and a restitution payment schedule. The government understands that the defendant is likely
 referring to the court-ordered fine of $100,000. Although the defendant argues that a certain
 payment schedule was approved by the defendant’s prior Probation Officer, the defendant’s
 payment obligations are specifically set forth in the Special Conditions of Supervision
 appended to the Court’s judgment. See Judgment, Docket Entry No. 163.

    II.        Victim-1’s Sworn Statements and Statements to the Nassau County Police
               Department Are Admissible at a Revocation Hearing

                As set forth in the government’s prior letter, the government has made
 significant efforts to secure Victim-1 and Victim-5’s testimony at the hearing. If,
 notwithstanding those efforts, Victim-1 refuses to comply with a subpoena requiring him to
 appear, the Court can and should rely on Victim-1’s videotaped statement to the Nassau
 County Police Department and written sworn statement because they are reliable, consistent
 with each other, and corroborated by independent evidence, including photographs of
 Victim-1 and Victim-2’s injuries. In addition, evidence admitted previously at the hearing
 reflects, among other things, that (1) the defendant was with Victim-1 and Victim-2 on the
 date in question; (2) the defendant shouted at Victim-1 and kicked him multiple times; and
 (3) Victim-1 and his children rushed quickly out of the defendant’s house while the
 defendant continued to shout at them, including using expletives to refer to Victim-1’s
 children. 1

               In sum, there is good cause for the Court to admit the out-of-court statements
 by Victim-1 if Victim-1 fails to appear at the hearing. See, e.g., United States v. McCourty,
 789 F. App’x 232, 233-34 (2d Cir. 2019) (summary order) (affirming the district court’s
 admission of hearsay statements at VOSR hearing where hearsay statements were consistent
 and where the defendant had a “history of violent conduct that makes reprisal against the
 declarant a possibility”); United States v. Mosquera, No. 07-CR-140 (DLI), 2013 WL
 2396213, at *10 (E.D.N.Y. May 31, 2013) (“As the government made reasonable efforts to




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                The video also makes clear that the defendant’s butler, Justin Dizon, was not
 able to see Victim-1 and Victim-2 during the entirety of the time they were in the defendant’s
 home. GX13.
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Case 1:10-cr-00433-KAM       Document 239        Filed 05/14/25   Page 4 of 4 PageID #: 1666




 find [the witness] and [the witness’s] statements are reliable, the government has shown good
 cause for the admission of [the witness’s hearsay] statements into evidence” at a VOSR
 hearing).


                                                   Respectfully submitted,

                                                   JOSEPH NOCELLA, JR.
                                                   United States Attorney

                                           By:       /s/
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 cc:    Kathryn Wozencroft, Esq. (by email and ECF)
        U.S. Probation Officer Heather Clark (by email)




                                               4
